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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


IN RE BED BATH & BEYOND
CORPORATION SECURITIES LITIGATION                         Case No. 1:22-cv-2541-TNM


THIS DOCUMENT RELATES TO: ALL                             CLASS ACTION
ACTIONS



                                     [PROPOSED] ORDER

       This matter is before the Court on the Motion of Defendants Bed Bath & Beyond Inc. and

Sue E. Gove (the “Bed Bath Defendants”) to Dismiss the Second Amended Class Action

Complaint (ECF No. 66) (the “Second Amended Complaint”), pursuant to Federal Rules of Civil

Procedure 8, 9(b), and 12(b)(6), and the Private Securities Litigation Reform Act of 1995, 15

U.S.C. § 78u-4 (the “Motion to Dismiss” or the “Motion”). Upon consideration of the Motion,

and all responses and replies thereto, it is hereby:

       ORDERED that the Bed Bath Defendants’ Motion to Dismiss the Second Amended

Complaint is GRANTED.



                                                       _________________________________

                                                       Hon. Trevor N. McFadden
                                                       United States District Judge
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                    List of Persons To Be Notified (LCvR7(k))

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